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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                       )
JOHN DOE,                              )
                                       )
               Petitioner,             )
                                       )
      v.                               ) Civil Action No. 1:17-cv-2069 (TSC)
                                       )
GEN. JAMES N. MATTIS,                  )
 in his official capacity as SECRETARY )
 OF DEFENSE,                           )
                                       )
               Respondent.             )


                                              NOTICE

       Respondent hereby notifies the Court that, as described in the Declaration filed under seal

concurrently herewith, the Department of Defense (the “Department”) has determined that it will

release Petitioner in Syria, consistent with the traditional military practice employed in the

United States Central Command area of responsibility and with the Department’s obligations

under the law of war. Counsel for Respondent has communicated with Petitioner’s counsel

regarding the Department’s plan and has previously provided Petitioner’s counsel with the

details set forth in the attached Declaration, which Petitioner’s counsel agreed to treat as under

seal for purposes of that communication. During that communication, Respondent explained that

it intended to release Petitioner in one of two possible locations—either in a town or outside an

Internally Displaced Person camp—and would allow Petitioner to choose which location he

preferred. Petitioner’s counsel had the opportunity to convey this information directly to

Petitioner. Ultimately, Petitioner did not identify a preference between the two locations and

would not agree to the release as Respondent described it. Accordingly, out of an abundance of

caution, the Department is filing this Notice of its intent to release Petitioner in the town
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specified in the Declaration no sooner than 72 hours hence. Undersigned counsel for Respondent

has served the Declaration on counsel for Petitioner by e-mail sent immediately prior to this

filing. 1



June 6, 2018                                        Respectfully submitted,

                                                    CHAD A. READLER
                                                    Acting Assistant Attorney General
                                                    JESSIE K. LIU
                                                    United States Attorney
                                                    TERRY M. HENRY
                                                    Assistant Director, Federal Programs Branch

                                                    /s/ Kathryn L. Wyer
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                                                    Attorneys for Respondent




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  While this Notice is being filed publicly, the Declaration is being filed separately under seal so
that the Department may effectuate Petitioner’s release in accord with its standard protocols
designed to safeguard the security of Department operations, which require that the details of
such operations occur without advance public notification. In the meantime, the Declaration is
undergoing review for purposes of filing a public version of the Declaration as soon as
practicable, and it will be reviewed again for public filing after Petitioner’s release.
                                                  2
